                    Case 4:16-cr-00260-WTM-CLR Document 156 Filed 01/19/17 Page 1 of 7

GAS 24SB          (Rev. 11/16)Judgment in a Criminal Case
DC Custody TSR



                                         United States District Court
                                                     SOUTHERN DISTRICT OF GEORGIA
                                                          SAVANNAH DIVISION

             UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE


                     Douglas Lamont Reed
                                                                                    Case Number:             4:16CR00260-I

                                                                                    USM Number:              21664-021

                                                                                    Stephen M. McCusker
                                                                                    Defendant's Attorney
THE DEFENDANT:

lEI pleaded guilty to Count        I
□ pleaded nolo contendere to Count(s)                         which was accepted by the court.
□ was found guilty on Count(s)                         aOer a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                   Nature of Offense                                                                Offense Ended         Count


21 U.S.C. § 841(a)(1),            Conspiracy to possess with intent to distribute and to distribute                  June 2016              1
21 U.S.C. §841(b)(1)(C),          cocaine
and 21 U.S.C. § 846

       The defendant is sentenced as provided in pages 2 through                    of this Judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)
El Counts        2,3,4, and 5                     □ is      13 are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid, if ordered to
pay restitution, the defendant must notify the court and United States attomey of material changes in economic circumstances.

                                                                            January 17, 2017
                                                                            Date of Imposition of Judgment




                                                                            Signature of Judge




                                                                            William T. Moore, Jr.
                                                                            Judge, U.S. District Court
                                                                            Name and Title of Judge




                                                                            Date                      '
Case 4:16-cr-00260-WTM-CLR Document 156 Filed 01/19/17 Page 2 of 7
Case 4:16-cr-00260-WTM-CLR Document 156 Filed 01/19/17 Page 3 of 7
Case 4:16-cr-00260-WTM-CLR Document 156 Filed 01/19/17 Page 4 of 7
Case 4:16-cr-00260-WTM-CLR Document 156 Filed 01/19/17 Page 5 of 7
Case 4:16-cr-00260-WTM-CLR Document 156 Filed 01/19/17 Page 6 of 7
Case 4:16-cr-00260-WTM-CLR Document 156 Filed 01/19/17 Page 7 of 7
